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 3

 4   Attorney for Defendant Jimmy G.Y. Lee

 5                                                   )
                                                     )     CR No. 05-00395 CRB
 6   UNITED STATES OF AMERICA                        )
                                                     )
 7                  Plaintiffs,                      )
                                                     )   REQUEST, STIPULATION AND
 8          vs.                                      )   ORDER
                                                     )
 9   JIMMY GONG YANG LEE,                            )
                                                     )
10                  Defendant.                       )
                                                     )
11

12          This matter is currently on the Court’s calendar for October 4, 2006. Through counsel,

13   defendant Jimmy Gong Yang Lee and the United States ask the Court to (a) vacate the October 4,

14   2006 date based on the defendant’s anticipated plea agreement, (b) set a date of October 25, 2006 for

15   change-of plea, and exclude time under the Speedy Trial Act, 18 U.S.C. § 3161 from October 4, 2006

16   to October 25, 2006.

17          1. The parties have been diligently working out the language of a plea agreement and request

18   that the court set the matter for October 25, 2006 for change-of-plea. It was anticipated that a plea

19   agreement would be signed and a plea of guilty entered on October 4, 2006, however, counsel for

20   the government is unavailable on that date and there remain some minor ancillary matters which

21   the defendant needs to deal with before entering his plea.      The next date that both counsel are

22   available is October 25, 2006.

23          2. The parties agree that the time between October 4, 2006 and October 25, 2006 should be

24   excluded from the Speedy Trial Act clock. Previously, this Court has declared this case complex,.

25   See 18 U.S.C. § 3161(h)(8)(B)(ii). Because of the absence of government counsel an the need for

26   defense counsel to address some minor ancillary matters related to the plea the parties agree that the

27   continuance is necessary for the continuity of counsel and effective preparation of defense counsel

28   taking into consideration of due diligence. See 18 U.S.C. §3161(h)(8)(B)(iv). The parties also agree


                                                     -1-
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 1   that the ends of justice served by excluding the period from October 4, 2006 to October 25, 2006

 2   outweigh the interest of the public and the defendant to a Speedy Trial. See id.

 3   3161(h)(8)(A).

 4

 5   STIPULATED:

 6

 7   DATE: September 28, 2006                              /S/ PETER B. AXELROD
                                                           PETER B. AXELROD
 8                                                         LAUREL BEELER
                                                           Assistant U.S. Attorneys
 9

10
     DATE: September 28, 2006                              /S/ ALAN DRESSLER
11                                                         Alan Dressler
                                                           Attorney for Defendant
12                                                         Jimmy Gong Yan Lee

13

14                                                 ORDER

15          For good cause shown, and for the reasons stated above, the Court (a) vacates the October 25,

16   2006, hearing date for defendant Jimmy Gong Yang Lee based on the anticipated plea agreement,
                                                                  2:15
17   (b)sets the matter for change-of-plea on October 25, 2006 at 2:00 p.m., and (c) excludes time under

18   the Speedy Trial Act, 18 U.S.C. § 3161, from October 4, 2006 to October 25, 2006. The Court finds

19   that the failure to grant the requested exclusion would deny the defendant continuity of counsel and

20   defense counsel reasonable time necessary for effective preparation taking into account the exercise

21   of due diligence. Further, the Court finds the exclusion warranted on complexity grounds, under 18

22   U.S.C. § 3161(h)(8)(B)(ii). Thus, the Court finds the ends of justice served by granting the requested

23   exclusion outweigh the best interest of the public and the defendant in a speedy trial and in prompt

24   ///

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26   ///

27   ///

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 1   disposition of criminal cases. The Court therefore concludes that this exclusion of time should be

 2   made under 18 U.S.C. §3161(h)(8)(A), (h)(8)(B)(ii) and (h)(8)(B)(iv).

 3          IT IS SO ORDERED.

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                                                                 TES D      TC
 5   DATED: September 29, 2006                                 TA




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                                                 CHARLES R. BREYER




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 6                                               United States District Judge




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